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 5
 6                        IN THE UNITED STATES DISTRICT COURT
 7                                  DISTRICT OF ARIZONA
 8
 9   United States of America,                            No. CR-20-00634-PHX-DWL
10                 Plaintiff,                                           ORDER
11         vs.
                                                               (Eleventh Request)
12   Jill Marie Jones,
13                 Defendant.
14
            Upon motion of Defendant, with no objection from the Government, and good
15
     cause appearing,
16
            IT IS ORDERED granting Defendant’s Motion to Continue Trial and Extend Time
17
     to File Pretrial Motions (Doc. 99), for the reasons stated in Defendant’s motion, including
18
     that defense counsel needs additional time to prepare for trial.
19
            This Court specifically finds that the ends of justice served by granting a
20
     continuance outweigh the best interests of the public and the defendant in a speedy trial.
21
     This finding is based upon the Court’s conclusion that the failure to grant such a
22
     continuance would deny Defendant the reasonable time necessary for effective
23
     preparation, taking into account the exercise of due diligence. 18 U.S.C. §
24
     3161(h)(7)(B)(iv).
25
     …
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     …
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 1         IT IS FURTHER ORDERED continuing Trial from September 7, 2022, to April

 2
     11, 2023, at 9:00 a.m.
           IT IS FURTHER ORDERED continuing the pretrial motions deadline until
 3
     February 21, 2023.
 4
           The Court finds excludable delay under Title 18 U.S.C. §3161(h)(7)(A) and (B)
 5
     from September 8, 2022, to April 11, 2023.
 6
 7         Dated this 13th day of July, 2022.
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